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                                                                  July 11, 2025
BY ECF
The Honorable Jessica G. L. Clarke
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street
New York, NY 10007-1312

               Re:     Kane v. Combs et al., 23-cv-10628 (JGLC)

Dear Judge Clarke:

        We write on behalf of Defendants Sean Combs and Harve Pierre, to seek a stay of
discovery pending two appeals in the Second Circuit that will decide a dispositive legal
issue in this case—whether the 2022 amendment, N.Y.C. Admin. Code § 10-1105 (the
“NYC Revival Provision”), to New York City’s Victims of Gender-Motivated Violence
Protection Law, N.Y.C. Admin. Code §§ 10-1101, et seq. (the “GMVL”) is preempted by
New York State’s Child Victims Act, N.Y. C.P.L.R. § 214-g (the “CVA”) and Adult
Survivor’s Act, N.Y. C.P.LR. § 214-j (the “ASA”), thus rendering Plaintiff’s action time-
barred. As far as undersigned counsel is aware, every other case in the Southern District
of New York that, like this one, involves a single cause of action under the GMVL and
relies on the NYC Revival Provision, has been effectively stayed until the Second Circuit
decides Parker v. Alexander, No. 25-487 and Doe v. Black, 25-564. We respectfully
submit that the Court should join those other courts and stay discovery pending resolution
of those appeals.

                                    Relevant Procedural History

        Plaintiff’s operative complaint alleges one count—violation of the GMVL
premised on conduct alleged to have occurred in 2003, over twenty years before she filed
this lawsuit. ECF No. 74. There is no dispute that absent the NYC Revival Provision, this
claim would be time-barred under the GMVL’s 7-year statute of limitations. N.Y.C.
Admin. Code § 10-1105(a). On May 10, 2024, Mr. Combs filed a motion to dismiss, joined
by Mr. Pierre, arguing, inter alia, that Plaintiff cannot rely on the NYC Revival Provision
which purports to create a two-year revival window in which to bring expired GMVL
claims because the NYC Revival Provision is preempted by the New York State CVA and
ASA. ECF Nos. 57, 63. On December 5, 2024, the Court granted in part and denied in
part that motion, holding, inter alia, that the NYC Revival Provision is not preempted by
the CVA for the reasons set forth in the Court’s opinion in Doe v. Black, No. 23-cv-6418
(JGLC), 2024 WL 4335453 (S.D.N.Y. Sept. 27, 2024). ECF No. 70. On November 8,
2024, the Court certified its decision in Doe v. Black for interlocutory appeal, No. 23-cv-
6418, ECF No. 253, which is now pending before the Second Circuit. Doe v. Black, 25-
564.

       On January 3, 2025, the Court entered a Case Management Plan and Scheduling
Order (the “CMO”) that adjourned the deadline for fact discovery until 90 days after the

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conclusion of Mr. Combs’ criminal trial. ECF No. 80. Except for initial disclosures, no
discovery has yet taken place in this case. 1

        Thereafter, another district court reached a conclusion different from this Court’s:
in Parker v. Alexander, Judge Kaplan held that the NYC Revival Provision was preempted
by state law. No. 24-cv-4813 (LAK), 2025 WL 268436 (S.D.N.Y. Jan. 22, 2025). Plaintiff
in Parker appealed. Parker v. Alexander, No. 25-487 (2d Cir.). The Parker and Black
appeals have been ordered to proceed in tandem and are expected to resolve the GMVL
preemption question that will control this case. See Parker, No. 25-487 (2d Cir.) at ECF
No. 19. The Parker appeal is fully briefed. See id. at ECF Nos. 23, 36, 38. The Black
appeal is expected to be fully briefed in October 2025. See Black, No. 25-564 at ECF Nos.
55, 57; LR 31.2(a).

       On July 2, 2025, the Court ordered the parties to confer and submit a revised case
management plan and scheduling order by July 14, in light of the jury rendering its verdict
in Mr. Combs’ criminal trial. ECF No. 84. Counsel for the parties have met and conferred,
and Counsel for Mr. Combs requested Plaintiff’s consent to stay discovery pending the
Second Circuit’s decisions in Parker and Black. Plaintiff does not consent to a stay. Mr.
Combs remains detained at the MDC pending sentencing on his conviction for violation of
the Mann Act; sentencing is scheduled for October 3, 2025. See U.S. v. Combs, 24-cr-542,
ECF Nos. 447, 450.

                                    Defendants’ Request for a Stay

       Defendants submit that a stay of this case is an appropriate conservation of party
and judicial resources during the pendency of two Second Circuit appeals, Parker v.
Alexander, No. 25-487 and Doe v. Black, 25-564. The Second Circuit’s rulings on these
appeals—which will resolve whether the NYC Revival Provision is preempted by state
law—will determine whether Plaintiff is permitted to pursue her sole claim. Pursuant to
the Court’s inherent authority to manage the dockets of the cases before it, “with economy
of time and effort for itself, for counsel, and for litigants,” see Landis v. North American
Co., 299 U.S. 248, 254 (1936), the Court should use its discretion to stay this case until
Parker and Black are decided.

         “[T]he power to stay proceedings is incidental to the power inherent in every court
to control the disposition of the causes on its docket with economy of time and effort for
itself, for counsel, and for litigants.” Louis Vuitton Malletier S.A. v. LY USA, Inc., 676
F.3d 83, 96 (2d Cir. 2012) (alteration in original). Courts consider the following factors in
determining whether to stay: “(1) the private interests of the plaintiffs in proceeding
expeditiously with the civil litigation as balanced against the prejudice to the plaintiffs if
delayed; (2) the private interests of and burden on the defendants; (3) the interests of the
courts; (4) the interests of persons not parties to the civil litigation; and (5) the public
interest.” Doe v. Alexander, No. 25-cv-01631 (JAV), 2025 WL 1384786, at *1 (S.D.N.Y.

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    Pursuant to the CMO, all other interim deadlines were adjourned on consent of all parties.

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Apr. 25, 2025) (internal citation omitted). Indeed, ten other GMVL cases pending in the
Southern District of New York involving Mr. Combs (and every single other case based
solely on a GMVL claim brought pursuant to the NYC Revival Provision), in front of seven
different judges (including some who raised the issue sua sponte and) have already been
effectively stayed. 2 Other GMVL cases not involving Mr. Combs have similarly been
stayed pending the Second Circuit’s decision in Parker and Black. 3

        The balance of interests in this case squarely favors a stay. Mr. Combs and Mr.
Pierre vigorously dispute Plaintiff’s allegations; if this case proceeds into discovery, the
parties will expend significant resources in pursuit of the truth. Therefore, all parties “stand
to benefit from gaining clarity on the scope of the [GMVL] before engaging in potentially
expensive—and uncertain—litigation” and “[i]t would be an inefficient use of time and
resources of the Court and the parties to proceed in light of a pending Second Circuit
decision that will significantly impact this litigation.” Alexander, 2025 WL 1384786, at
*1-2 (internal citation omitted).

        Moreover, any interest Plaintiff may have in proceeding expeditiously is
undermined by the fact that this plaintiff waited more than twenty years to bring this
lawsuit. Statutes of limitations which typically prevent such delayed filings “are designed
to spare” a defendant “from being put to his defense after memories have faded, witnesses
have died or disappeared, and evidence has been lost.” Nussenzweig v. diCorcia, 9 N.Y.3d
184, 188 (2007). Thus, a revival window is an “‘extreme example of legislative power’”
and such windows must be “narrowly construed.” Jones v. Cattaraugus-Little Valley Cent.
Sch. Dist., No. 19-cv-707S, 2022 WL 2124608, at *4 (W.D.N.Y. June 13, 2022) (internal
citation omitted). The CVA established a narrow revival window for claims like Plaintiff’s.
The NYC Revival Provision expanded that window. This Court and Judge Kaplan
disagreed as to whether such expansion is permissible, and the Second Circuit is presently
deciding that dispute. We respectfully submit that Mr. Combs and Mr. Pierre should not
be burdened with the expense and intrusion of discovery when controlling law may very
well determine that Plaintiff is not entitled to pursue her claim at all.



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 See Doe v. Combs, No. 24-cv-07776 (NRB), Order (Apr. 24, 2025), ECF No. 69; Doe v. Combs, No. 24-
cv-08812 (NRB), Order (Apr. 24, 2025), ECF No. 43; McKinney v. Combs, No. 24-cv-03931 (NRB), Order
(Apr. 24, 2025), ECF No. 49; Doe v. Combs, No. 24-cv-08808 (JAV), Order (Apr. 28, 2025), ECF No. 50;
Doe v. Combs, No. 24-cv-08813 (JGK), Order (Apr. 30, 2025), ECF No. 44; Doe v. Combs, No. 24-cv-
07774 (JPO), Order (May 8, 2025), ECF No. 79; Doe v. Combs, No. 24-cv-07778 (JLR), Order (May 16,
2025), ECF No. 74; Doe v. Combs, No. 24-cv-09852 (JLR), Opinion and Order (May 16, 2025), ECF No.
55; English v. Combs, No. 24-cv-05090 (AT), Order (May 29, 2025), ECF No. 100; Doe v. Combs, No. 24-
cv-08054 (MKV), Order (June 11, 2025), ECF No. 89.
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  See, e.g., Willett v. Alexander, No. 24-cv-05672 (NRB), Endorsed Letter (Mar. 18, 2025), ECF No. 23;
Buck v. Alexander, No. 25-cv-02112 (NRB), Endorsed Letter (Apr. 1, 2025), ECF No. 12; Doe v.
Alexander, 25-cv-02106 (DEH), Order (Apr. 8, 2025), ECF No. 23; Goodwin v. Alexander, No. 25-cv-
02247 (PAE), Order (Apr. 14, 2025), ECF No. 7; Doe v. Alexander, No. 25-cv-01631 (JAV), 2025 WL
1384786 (S.D.N.Y. Apr. 25, 2025); Doe v. Alexander, No. 25-cv-02108 (RA), Order (Apr. 30, 2025), ECF
No. 22; Doe v. Alexander, No. 25-cv-2113 (JMF), Order (June 2, 2025), ECF No. 26.

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                                              Respectfully submitted,

/s/ Scott Leemon                              /s/ Erica A. Wolff

Scott Leemon                                  Erica A. Wolff

Counsel for Defendant Harve Pierre            Counsel for Defendant Sean Combs




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